

Matter of Attorneys in Violation of Judiciary Law § 468-a (Parinov) (2025 NY Slip Op 02845)





Matter of Attorneys in Violation of Judiciary Law § 468-a (Parinov)


2025 NY Slip Op 02845


Decided on May 8, 2025


Appellate Division, Third Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered:May 8, 2025

PM-114-25
[*1]In the Matter of Attorneys in Violation of Judiciary Law § 468-a. Attorney Grievance Committee for the Third Judicial Department, Petitioner; Kirill Yurievich Parinov, Respondent. (Attorney Registration No. 2782423.)

Calendar Date:March 31, 2025

Before:Garry, P.J., Clark, Lynch, Reynolds Fitzgerald and Ceresia, JJ., concur. 

Monica A. Duffy, Attorney Grievance Committee for the Third Judicial Department, Albany (Alison M. Coan of counsel), for Attorney Grievance Committee for the Third Judicial Department.
Kirill Yurievich Parinov, Wassenaar, Netherlands, respondent pro se.



Motion by respondent for an order reinstating him to the practice of law following his suspension by September 2024 order of this Court (Matter of Attorneys in Violation of Judiciary Law § 468-a, 230 AD3d 1498, 1516 [3d Dept 2024]; see Rules for Atty Disciplinary Matters [22 NYCRR] § 1240.16; Rules of App Div, 3d Dept [22 NYCRR] § 806.16).
Upon reading respondent's affidavit with exhibit sworn to February 17, 2025 and the March 27, 2025 responsive correspondence from the Attorney Grievance Committee for the Third Judicial Department, and having determined, by clear and convincing evidence, that (1) respondent has complied with the order of suspension and the rules of this Court, (2) respondent has the requisite character and fitness to practice law, and (3) it would be in the public interest to reinstate respondent to the practice of law (see Rules for Atty Disciplinary Matters [22 NYCRR] § 1240.16 [a]), it is
ORDERED that respondent's motion for reinstatement is granted; and it is further
ORDERED that respondent is reinstated as an attorney and counselor-at-law, effective immediately.
Garry, P.J., Clark, Lynch, Reynolds Fitzgerald and Ceresia, JJ., concur.








